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                Exhibit A
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS




IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION                        MDL No. 1456

                                                          CIVIL ACTION: 01-CV-12257-PBS
THIS DOCUMENT RELATES TO:
                                                          Judge Patti B. Saris
BMS SETTLEMENT



    [PROPOSED] ORDER DIRECTING NOTICE OF SETTLEMENT REVISION TO
      AFFECTED CLASS MEMBERS AND SCHEDULING FAIRNESS HEARING


           In an electronic entry dated May 5, 2011, the Court approved the proposed rebalancing of

the BMS Settlement Allocation embodied in Dkt. No. 7530. This Order now approves the

provision of Notice of the settlement revision to affected Class members and schedules a

supplemental fairness hearing.

           1.     On or before May 24, 2011, and using the mailing addresses contained in its

database, the Claims Administrator shall provide notice of the settlement revision in the forms

attached hereto as Exhibits A and B (the “Supplemental Notices”) as follows: (a) the form of

notice attached at Exhibit A shall be sent by U.S. Mail to all TPP Class 2 and 3 members who

timely filed claims; and (b) the form of notice attached at Exhibit B shall be sent by U.S. Mail to

all Class 1 consumers who timely filed claims and who the Clams Administrator determines will

receive less under the revised distribution formula than they would have under the original

formula.

           2.     The Court finds that these Supplemental Notices and this supplemental notice

plan meet the requirements of due process and Fed. R. Civ. P. 23(c) and (e), constitutes the best

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notice practicable under the circumstances to all persons entitled to notice, and satisfies the

Constitutional requirements of notice. One-half of the reasonable costs of preparing, printing,

publishing, mailing and otherwise disseminating the notice, up to a maximum of $1,000,000,

shall be paid by BMS in accordance with the Settlement Agreement, with the other half and any

other amounts over the BMS maximum being advanced and reimbursed from the settlement

fund. Costs previously incurred in providing the original notice of the Proposed Settlement are

to be included in determining the $1,000,000 maximum.

           3.   The Court exercises its discretion under Fed. R. Civ. P. 23(e)(4) so as not to

provide an additional opportunity for Class members to request exclusion.

           4.   A supplemental hearing on final settlement approval (the “Supplemental Fairness

Hearing”) will be held on July 7, 2011 at _____ before this Court, at the United States District

Court for the District of Massachusetts, One Courthouse Way, Boston, Massachusetts 02210, to

consider whether the Proposed Settlement, as revised, should be approved as fair, reasonable and

adequate.

           5.   Any member of the Classes that was mailed a Supplemental Notice may appear at

the Supplemental Fairness Hearing in person or by counsel and may be heard, to the extent

allowed by the Court, either in support of or in opposition to the fairness, reasonableness and

adequacy of the revision to the Proposed Settlement; provided, however, that no person shall be

heard in opposition to the revision to the Proposed Settlement, and no papers or briefs submitted

by or on behalf of any such person shall be accepted or considered by the Court, unless

submitted to the Court and received by Counsel for the parties on or before July 1, 2011. Such

person must (a) file with the Clerk of the Court a notice of such person’s intention to appear as

well as a statement that indicates the basis for such person’s opposition and any documentation

in support of such opposition on or before July 1, 2011, and (b) serve copies of such notice,


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statement and documentation, as well as any other papers or briefs that such person files with the

Court, either in person or by mail, upon Counsel to the parties so that such papers are received on

or before July 1, 2011. Class Members who fail to object in the manner and by the dates

provided herein shall be deemed to have waived and shall forever be foreclosed from raising any

such objections.

           6.     Counsel for the parties who must be served with all documentation described

above in Paragraph 4 are as follows:

           Counsel for the Class

           Steve W. Berman
           HAGENS BERMAN SOBOL SHAPIRO LLP
           1918 8th Avenue, Suite 3300
           Seattle, WA 98101

           Counsel for Defendant BMS

           Lyndon M. Tretter
           HOGAN LOVELLS US LLP
           875 Third Avenue
           New York, NY 10022

           7.     The date and time of the Supplemental Fairness Hearing shall be subject to

adjournment by the Court without further notice to the members of the Classes other than that

which may be posted at the Court, on the Court’s website, and/or the Claims Administrator

website.

           8.     The Court appoints KeyBank Trust Department, 1301 Fifth Avenue, Suite 2400,

Seattle, Washington, to be the new Escrow Agent for the BMS Settlement.


Dated: May __, 2011                            __________________________________
                                               Honorable Patti B. Saris
                                               United States District Judge




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                Exhibit A
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       Authorized by the U.S. District Court for the District of Massachusetts

Notice of Revision to Proposed Class Action Settlement Involving Certain
                    Chemotherapy Drugs Sold by BMS


                                1. What Is This Notice About?

There is a Proposed Settlement of a class action lawsuit involving Bristol-Myers Squibb (“BMS”)
drugs Blenoxane®, Cytoxan®, Etopophos®, Paraplatin®, Rubex®, Taxol® and Vepesid® (referred to
as the “BMS Drugs”). The name of the lawsuit is In re: Pharmaceutical Industry Average Wholesale
Price Litigation, Docket No. 01-CV-12257-PBS, MDL No. 1456.

You were mailed this Notice because you previously filed a Claim Form in response to an earlier
Notice that was sent to you. On the Claim Form, you indicated that you made a payment from January
1, 1991 through December 31, 2004 for a BMS Drug.

This revised Notice informs you of a change in the terms of the Proposed Settlement.


                      2. What Is The Relevant Change In The Terms
                              Of The Proposed Settlement?

Under the Proposed Settlement, BMS will pay $19 million to settle the lawsuit. This amount is meant
to satisfy the claims of both Third-Party Payors (“TPPs”) who meet the criteria for inclusion in one of
the two Settlement Classes as well as claims by consumers who made percentage co-payments and full
cash payments based on the published Average Wholesale Price (“AWP”). All costs associated with
notice and administration, attorneys’ fees and litigation costs, and compensation to the named class
representatives for time spent providing documents and testimony in connection with this case will be
paid from the $19 million settlement amount, except that BMS will pay 50% of the costs of notice up
to $1 million.
Under the initial proposal, 77% (or $14,630,000) of the gross settlement amount was designated to
satisfy the claims of TPPs. The remaining 23% (or $4,370,000) of the gross settlement amount was
designated for the purpose of paying consumer claims. Consumers and TPPs are sharing the costs of
notice and administration equally.

The Court considered the Proposed Settlement at a hearing held March 28, 2011. Among other things,
the Court requested that the Proposed Settlement be modified to provide more money to consumer
members of the Classes. Afterward, a mediation was held between Allocation Counsel for consumers
and TPPs, which produced an Agreement that provided Consumers with an additional $1,000,000.
Thus, the Agreement now provides that consumers will receive a gross settlement amount of
$5,370,000 (28%), and that TPPs will receive a gross settlement amount of $13,630,000 (72%).


                  Your legal rights are affected even if you do not act.
                               Read this Notice carefully.
                                                  1
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All other terms of the Proposed Settlement relevant to TPPs remain unchanged. Other changes relating
to the distribution methodology apply only to consumers.

The Court has approved the Proposed Settlement, as revised, on a preliminary basis. It has further
determined that the revision does not warrant a second “opt out” period in which class members who
declined to exclude themselves before should now be offered another chance to do so. Accordingly, if
the Proposed Settlement is finally approved as revised, you will be bound by its terms. The Court will
hold a Hearing to decide whether the revised Proposed Settlement should be finally approved (See
Question 4).



                  3. May I Object To, Or Comment On, The Revision To
                               The Proposed Settlement?

Yes. If you have comments about, or disagree with, any aspect of the revision to the Proposed
Settlement, you may express your views to the Court. You must do this in writing. Your written
response must include:
           Your name, address, telephone number, a brief explanation of your reasons for objection,
            and
           The case number (Civil Action Number: 01-CV-12257-PBS, MDL No. 1456).

The document must be signed to ensure the Court’s review. The response must be filed with the Court
at the following address on or before July 1, 2011: Clerk of Court, John Joseph Moakley U.S.
Courthouse, 1 Courthouse Way, Suite 2300, Boston, Massachusetts 02210 and served on Counsel for the
Parties so that the objection is received on or before July 1, 2011 at the following addresses:

       Counsel for the Class                                   Counsel for BMS
       Steve W. Berman                                         Lyndon M. Tretter
       Hagens Berman Sobol Shapiro LLP                         Hogan Lovells US LLP
       1918 Eighth Avenue, Suite 3300                          875 Third Avenue
       Seattle, WA 98101                                       New York, NY 10022

In addition, your document must clearly state that it relates to the “BMS Settlement.” If you file or
present an objection, you will be subject to the jurisdiction of the Court.


           4. When And Where Will The Court Decide On Whether To Grant
                    Final Approval Of The Proposed Settlement?

The Court will hold a Hearing on July 7, 2011 at __ p.m. to consider whether it is fair, reasonable and
adequate. At the Hearing, the Court will also consider whether to approve the Proposed Settlement;
the request for attorneys’ fees and expenses; and any comments or objections. You are not required to
attend, but may do so at your own expense.

If you want your own lawyer instead of Class Counsel to speak at the Final Approval Hearing, you
must give the Court a paper that is called a “Notice of Appearance.” The Notice of Appearance must
include:

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           Your name, address, telephone number, signature;
           The name, and number of the lawsuit (Civil Action Number: 01-CV-12257-PBS, MDL No.
            1456);
           State that you wish to enter an appearance at the Final Approval Hearing; and
           Any documentation in support of such opposition.

Your Notice of Appearance must be filed with the Court on or before July 1, 2011 and served on
Counsel so that it is received on or before July 1, 2011. The Notice of Appearance must be filed with
the Court and served on Counsel at the addresses set forth above in response to Question 3.


                          5. Where Do I Obtain More Information?

You may obtain more information, including a copy of the original Notice that was previously mailed
to you, by visiting the BMS AWP Settlement web site at www.BMSAWPSettlement.com, by calling
1-877-690-7097, or by writing to:
                       BMS AWP TPP Settlement Administrator
                       P.O. Box 24648
                       West Palm Beach, FL 33416




DATED: May __, 2011                                            BY ORDER OF THE COURT




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                 Exhibit B
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        Authorized by the U.S. District Court for the District of Massachusetts


   Notice of Revision to Proposed Class Action Settlement
    Involving Certain Chemotherapy Drugs Sold by BMS

                           1. What Is This Notice About?

There is a Proposed Settlement of a class action lawsuit involving Bristol-Myers Squibb
(“BMS”) drugs Blenoxane®, Cytoxan®, Etopophos®, Paraplatin®, Rubex®, Taxol® and
Vepesid® (referred to as the “BMS Drugs”). The name of the lawsuit is In re:
Pharmaceutical Industry Average Wholesale Price Litigation, Docket No. 01-CV-12257-
PBS, MDL No. 1456.

You were mailed this Notice because you previously returned a Claim Card in response to
an earlier Notice that was sent to you. On the Claim Card, you indicated that you made a
percentage co-payment from January 1, 1991 through December 31, 2004 for a BMS Drug
under Medicare Part B.

This revised Notice informs you of changes in the terms of the Proposed Settlement. In sum,
the amount of money allocated to consumers has been increased, and the proposed
distribution has been altered to more closely track estimated damages for each individual
BMS Drug. You are receiving this Notice because our records indicate that your total
compensation across all settled BMS Drugs will be reduced under the Proposed Settlement
as revised.


   2. What Are The Changes In The Terms Of The Proposed Settlement?

The Court considered the Proposed Settlement at a hearing held March 28, 2011. The Court
requested that the Proposed Settlement be modified to provide more money to consumers
and to base the distribution among the various consumers more closely on estimated
damages for each individual BMS Drug. Plaintiffs subsequently presented a revision to the
Court, which the Court approved on a preliminary basis.

                 Your legal rights are affected even if you do not act.
                              Read this Notice carefully.


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The total amount of money available to pay consumer claims, including those consumers
who participated in Medicare Part B and those who made a percentage co-payment or cash
payment for BMS Drugs outside of the Medicare Part B program, has been increased from
$4,370,000 to $5,370,000.

And the manner in which your payment will be calculated has changed. Under the previous
formula, the Claims Administrator would calculate your “Total Recognized Claim” by
adding two amounts:

         Payment obligations for Cytoxan®, Taxol® and Vepesid® from January 1, 1991
          through December 31, 2004 multiplied by a factor of three (3x); and
         Payment obligations for Blenoxane®, Etopophos®, Paraplatin®, Rubex® inside
          this time period (with no multiplication factor).

Your Total Recognized Claim will now be calculated differently. It will be based on the
Court’s findings from a prior trial against BMS in this same litigation and Plaintiffs’ expert’s
calculation of estimated overcharges associated with the alleged price inflation for the BMS Drugs.

Your Total Recognized Claim will now be determined according to a three step process:

  1. For the drugs Cytoxan®, Taxol® and Vepesid®, the Claims Administrator will apply
      the expert’s estimated overcharge percentage for all administrations during the
      following years (years not indicated receive $0):

      Cytoxan®: 1991-2004          Taxol®: 2002-2003         Vepesid®: 1993-1999, 2001-2004

  2. The amounts determined in Step 1 will be doubled for the following drugs and years for
     which the Court found liability in the prior trial: Cytoxan®, 1998-2002; Taxol®, 2002;
      and Vepesid®, 1998-1999, 2001-2002.

  3. In Step 3, a $50 payment will be allocated for all administrations of each of the following
     drugs: Blenoxane®, Etopophos®, Paraplatin®, Rubex®. In addition, all Taxol®
      administrations during the years 1991-2001 will also be allocated $50. The foregoing
      payments are a flat $50 per drug, without regard to how many administrations you
      received of the particular drug. For the foregoing drugs (and the time period indicated
      for Taxol®), either the Court found no liability at the prior trial, or Plaintiffs’ expert
      determined that there were no or very minimal alleged overcharges.

The sum of these figures will be your Total Recognized Claim. For those claimants whose
Total Recognized Claim sums to less than $50, the distribution formula steps them up to
$50, so that $50 becomes the minimum Total Recognized Claim for eligible claimants.


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If there is enough money based on the number of claims received, your payment will be
100% of your Total Recognized Claim. If there is not enough money to pay all consumers
100% of their Total Recognized Claims, each consumer’s claim will be reduced
proportionately.

If you are eligible to receive a payment, the net result of these changes to the Proposed
Settlement is that your payment will be lower than under the initial distribution formula.

The remaining terms of the Proposed Settlement remain unchanged. The Court has
determined that the above revision does not warrant a second “opt out” period in which class
members who declined to exclude themselves before should now be offered another chance
to do so. Accordingly, if the Proposed Settlement is finally approved as revised, you will be
bound by its terms.


             3. May I Object To, Or Comment On, The Revision To
                          The Proposed Settlement?
Yes. If you have comments about, or disagree with, any aspect of the revision to the
Proposed Settlement, you may express your views to the Court. You must do this in writing.
Your written response must include:
       Your name, address, telephone number, a brief explanation of your reasons for
        objection, and
       The case number (Civil Action Number: 01-CV-12257-PBS, MDL No. 1456).

The document must be signed to ensure the Court’s review. The response must be filed with
the Court at the following address on or before July 1, 2011: Clerk of Court, John
Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Suite 2300, Boston, Massachusetts
02210 and served on Counsel for the Parties so that the objection is received on or
before July 1, 2011 at the following addresses:

      Counsel for the Class                           Counsel for BMS
      Steve W. Berman                                 Lyndon M. Tretter
      Hagens Berman Sobol Shapiro LLP                 Hogan Lovells US LLP
      1918 Eighth Avenue, Suite 3300                  875 Third Avenue
      Seattle, WA 98101                               New York, NY 10022

In addition, your document must clearly state that it relates to the “BMS Settlement.” If you
file or present an objection, you will be subject to the jurisdiction of the Court.



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     4. When And Where Will The Court Decide On Whether To Grant
                  Final Approval Of The Proposed Settlement?
The Court will hold a Hearing on July 7, 2011 at __ p.m. to consider whether it is fair,
reasonable and adequate. At the Hearing, the Court will also consider whether to approve
the Proposed Settlement; the request for attorneys’ fees and expenses; and any comments or
objections. You are not required to attend, but may do so at your own expense.

If you want your own lawyer instead of Class Counsel to speak at the Final Approval
Hearing, you must give the Court a paper that is called a “Notice of Appearance.” The Notice
of Appearance must include:
       Your name, address, telephone number, signature;
       The name, and number of the lawsuit (Civil Action Number: 01-CV-12257-PBS,
        MDL No. 1456);
       State that you wish to enter an appearance at the Final Approval Hearing; and
       Any documentation in support of such opposition.

Your Notice of Appearance must be filed with the Court on or before July 1, 2011 and
served on Counsel so that it is received on or before July 1, 2011. You cannot speak at the
Hearing if you previously asked to be excluded from the Proposed Settlement Class. The
Notice of Appearance must be filed with the Court and served on Counsel at the addresses
set forth above in response to Question 3.


                    5. Where Do I Obtain More Information?
You may obtain more information, including a copy of the original Notice that was
previously mailed to you, by visiting the BMS AWP Settlement web site at
www.BMSAWPSettlement.com, by calling 1-877-690-7097, or by writing to:
                   BMS AWP Class1 Settlement Administrator
                   P.O. Box 2364
                   Faribault, MN 55021-9064


DATED: May __, 2011                                 BY ORDER OF THE COURT




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